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 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                                Case No. CR20-119RSL

10                          Plaintiff,                         ORDER DENYING
11                     v.                                      DEFENDANT’S MOTION
                                                               FOR TEMPORARY
12    LEO DICKERSON,                                           RELEASE TO ATTEND
13                          Defendant.                         FUNERAL

14
15         This matter comes before the Court on defendant’s “Motion for Temporary Release to
16 Attend Funeral.” Dkt. # 34. The government opposes defendant’s motion. Dkt. # 35. For the
17 reasons articulated below, the motion is DENIED.
18         While the Court has sincere sympathy for defendant’s loss of his sister, there is an
19 ongoing pandemic currently impacting the SeaTac area. It is unclear what precautions the
20 funeral directors and family intend to take to prevent those attending the funeral and any follow-
21 up reception from contracting or spreading the COVID-19 virus. Ordering defendant’s release
22 could not only cause him to be exposed to the virus, but it also puts at risk those individuals who
23 have contact with defendant. Under these circumstances, the Court declines to exercise its
24 discretion under 18 U.S.C. § 3142(i) to permit defendant’s temporary release.
25         For the foregoing reasons, defendant’s motion is DENIED.
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     ORDER DENYING MOTION FOR TEMPORARY RELEASE - 1
            Case 2:20-cr-00119-RSL Document 36 Filed 11/06/20 Page 2 of 2




 1        DATED this 6th day of November, 2020.
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 3
 4                                                A
                                                  Robert S. Lasnik
 5                                                United States District Judge
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     ORDER DENYING MOTION FOR TEMPORARY RELEASE - 2
